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EXHIBIT “A”
                                                                                                                      E-FILED IN OFFICE - JM
                        Case 1:21-cv-05135-JPB Document 1-1 Filed 12/16/21 Page 2 of 12                             CLERK OF STATE COURT
                                                                                                                GWINNETT COUNTY, GEORGIA
                                                                                                                          21-C-08005-S5
                                   IN THE STATE COURT OF GWINNETT COUNTY                                              11/9/2021 3:25 PM
                                                                                                                    TIANA P. GARNER, CLERK

                                                       STATE OF GEORGIA
      Cody Cameron
      _______________________________________

      _______________________________________
                                                                                          CIVIL ACTION
      _______________________________________                                             NUMBER:      21-C-08005-S5

                                       PLAINTIFF


                            VS.
      Dollar Tree Stores, Inc.
      _______________________________________
      John Doe Employee
      _______________________________________
      John Doe Manager
      _______________________________________

                                      DEFENDANT




                                                              SUMMONS

      TO THE ABOVE NAMED DEFENDANT:

        You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
      and address is:
      Aaron P. Marks
      Marks Law Group
      125 Clairemont Avenue
      Suite 470
      Decatur GA 30030
      an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
      the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.

      This _________________ day of ____________________________________,
                                     9th day of November, 2021                        20_____.


                                                                                  Tiana P. Garner
                                                                                 Clerk of State Court



                                                                                 By     /s/ Jojie Moleta-Deloach
                                                                                                 Deputy Clerk

      INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

      SC-1 Rev. 2011




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                        Case 1:21-cv-05135-JPB Document 1-1 Filed 12/16/21 Page 3 of 12               CLERK OF STATE COURT
                                                                                                  GWINNETT COUNTY, GEORGIA
                                                                                                            21-C-08005-S5
                                                                                                        11/9/2021 9:34 AM
                                                                                                      TIANA P. GARNER, CLERK

                                  IN THE STATE COURT OF GWINNETT COUNTY
                                             STATE OF GEORGIA

             CODY CAMERON,

                  Plaintiff,

             v.                                                           CIVIL ACTION FILE
                                                                          NO.: ______________
             DOLLAR TREE STORES, INC. and
             JOHN DOE EMPLOYEE and JOHN DOE                                   21-C-08005-S5
             MANAGER,


                  Defendants.

                                                      COMPLAINT

                      COMES NOW Plaintiff, Cody Cameron, and files this Complaint for damages against

             Defendants as follows:

                                               PARTIES AND JURISDICTION

                                                             1.

                      Plaintiff Cody Cameron is currently a resident of Hall County, Georgia and is subject to

             the jurisdiction of this court.

                                                             2.

                      Defendant Dollar Tree Stores, Inc. (hereinafter “Defendant DOLLAR TREE”), is a

             Georgia Domestic Limited Liability Company doing business in Georgia. Defendant DOLLAR

             TREE may be served with a copy of the Summons and Complaint by serving its registered

             agent, Corporation Service Company, 2 Sun Court, Suite 400, Peachtree Corners, Georgia

             30092.




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                                                             3.

                    Defendant John Doe Manager is as yet an unidentified manager, an assistant manager, or

             an employee of Dollar Tree, who will be served according to Georgia law upon their proper

             identification and location.

                                                             4.

                    Defendant John Doe Employee is as yet an unidentified manager, an assistant manager,

             or an employee of Dollar Tree, who will be served according to Georgia law upon their proper

             identification and location.

                                                             5.

                    Pursuant to provision O.C.G.A. §14-2-510(b)(4), jurisdiction and venue are proper as to

             Defendant Dollar Tree Stores, Inc..

                                                         FACTS

                                                             6.

                    Plaintiff incorporates by reference paragraphs 1 through 5 of this Complaint as if fully set

             forth herein.

                                                             7.

                    On or about May 18, 2021, Mr. Cameron was a patron at Dollar Tree, located at 130

             John W Morrow Jr Pkwy Ste L-1, Gainesville, GA 30501.

                                                             8.

                    At the time of the incident described herein, Mr. Cameron was an invitee of Dollar Tree

             Stores, Inc.

                                                             9.

                    Mr. Cameron was shopping in the Dollar Tree store.



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                                                             10.

                     Unbeknownst to Mr. Cameron there was conditioner spilled on the floor.

                                                             11.

                     When Mr. Cameron was walking he slipped and fell on the conditioner, resulting in

             severe injuries.

             COUNT I – LIABILITY OF DEFENDANT UNDER THE DOCTRINE OF RESPONDEAT
                                           SUPERIOR

                                                             12.

                     Plaintiff incorporates by reference paragraphs 1 through 10 of this Complaint as if set

             forth fully herein.

                                                             13.

                     Defendant DOLLAR TREE owed a nondelegable duty of reasonable care in keeping the

             premises safe for invitees such Mr. Cameron.

                                                             14.

                     Defendant DOLLAR TREE was negligent in failing to adopt appropriate policies and

             procedures to make sure that the appropriate inspections, and maintenance were performed on

             the premises and in failing to train its employees concerning safety procedures for inspecting,

             and maintaining the premises.

                                                             15.

                     At all times relevant to this action, the individuals responsible for inspecting, cleaning

             and maintaining the area where Plaintiff fell were employed by Defendant DOLLAR TREE and

             were acting in the scope of their employment.

                                                             16.




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                    Defendant DOLLAR TREE is responsible for the conduct of these individuals under the

             doctrine of Respondeat Superior.

                            COUNT II - PUNITIVE DAMAGES AGAINST DEFENDANT

                                                             17.

                    Plaintiff re-alleges and incorporates by reference paragraphs 1 through 16 of this

             Complaint as if set forth fully herein.

                                                             18.

                    As a direct and proximate result of Defendant’s above-mentioned intentional, willful,

             wanton and reckless conduct, Plaintiff has incurred medical bills for his care and treatment,

             suffered mental and emotional pain and suffering, endured physical pain and suffering and upon

             information and belief, will suffer and incur some or all of these damages in the future.

                                                             19.

                    The actions of the Defendant in deliberately and intentionally committing a violent

             physical injury upon the Plaintiff during the events described above authorize the imposition of

             punitive damages, pursuant to the provision of O.C.G.A. § 51-12-5.1, in that they show willful

             misconduct, malice, fraud, wantonness, oppression, or that entire want of care which would raise

             the presumption of a conscious indifference to consequences.

                                                             20.

                    Plaintiff seeks to recover punitive damages pursuant to O.C.G.A. § 51-12-5.1 in such an

             amount as the jury determines to be just and appropriate to fully and completely deter Defendant

             from committing the tortuous acts and omissions complained of in this Complaint.

                                                             21.

                    Defendant willfully, wantonly, knowingly, and with specific intent to cause harm, as that



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             term is defined in the law, caused multiple injuries to Plaintiff and therefore there should be no

             cap or limitation on the amount of punitive damages awarded in this case.

                                             COUNT III – ATTORNEY FEES

                                                              22.

                     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 21 of this

             Complaint as if set forth fully herein.

                                                              23.

                     Defendant’s willful misconduct constitutes “bad faith” sufficient to award attorney’s fees

             under O.C.G.A. § 13-6-11, and Plaintiff is entitled to recover from Defendant all expenses of

             litigation, including reasonable attorney’s fees incurred in bringing this action.

                                                              24.

                     Defendant negligently failed to properly train and/or supervise employees and/or

             subordinates of Defendants DOLLAR TREE, to safely, properly and professionally execute their

             duties and obligations to Plaintiff.

                                                              25.

                     Defendant negligently retained employees when they knew or should have known that

             such employees were not qualified to perform their duties which caused or contributed to the

             incident at issue.

                                                              26.

                     Although the Defendant knew, or in the exercise of reasonable diligence should have

             known, of the risks of injuries to Plaintiff, they negligently failed to take reasonable precautions

             to guard against the dangerous behavior of Defendant’s employees and failed to protect Plaintiff.

                                                              27.



                                                                                                   -5-|Page


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                    As a result of Defendant’s negligence in training, supervising, and managing its employees,

             Plaintiff was injured on the premises.

                                                  PRAYER FOR RELIEF

                    WHEREFORE, the Complaint of the Plaintiff having fully been set forth, Plaintiff

             respectfully prays as follows:

                    (a)     That summons and complaint be served as provided by law;

                    (b)     That Plaintiff has a trial by jury;

                    (c)     That Plaintiff be awarded actual damages from DOLLAR TREE in an amount to
                            be shown at trial;

                    (d)     That Plaintiff be awarded general damages from Dollar Tree Stores, Inc. in
                            accordance with the enlightened conscience of an impartial jury;

                    (e)     That Plaintiff be awarded punitive damages;

                    (f)     That Plaintiff be awarded interest and costs; and

                    (g)     For such other and further relief as this Court deems just and proper.

             Respectfully submitted, this 5th day of November 2021.



                                                                  MARKS LAW GROUP, LLC

             125 Clairemont Avenue
             Suite 470
             Decatur, Georgia 30030                               /s/Aaron P. Marks
             Phone: (404) 939-1485                                Aaron P. Marks
             Fax: (404) 581-5902                                  Georgia Bar No. 558116
             aaron@markslawgroup.com                              Attorney for Plaintiff




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                            Case 1:21-cv-05135-JPB Document 1-1 Filed 12/16/21 Page 9 of 12                                               CLERK OF STATE COURT
                                                                                                                                      GWINNETT COUNTY, GEORGIA
                                   General Civil and Domestic Relations Case Filing Information Form                                               21-C-08005-S5
                                                                                                                                               11/9/2021 3:25 PM
                                                                                                                                          TIANA P. GARNER, CLERK
                                        ☐ Superior or ☐ State Court of ______________________________
                                                             ■         Gwinnett                       County

              For Clerk Use Only
                                                                                                           21-C-08005-S5
              Date Filed _________________________                                Case Number _________________________
                              MM-DD-YYYY

      Plaintiff(s)                                                                   Defendant(s)
      __________________________________________________
      Cameron Cody                                                                   __________________________________________________
                                                                                     Dollar Tree Stores, Inc.
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
      __________________________________________________                             __________________________________________________
                                                                                     John Doe Employee
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
      __________________________________________________                             __________________________________________________
                                                                                     John Doe Manager
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix
      __________________________________________________                             __________________________________________________
      Last              First                  Middle I.     Suffix     Prefix         Last                  First        Middle I.   Suffix     Prefix

      Plaintiff’s Attorney ________________________________________
                           Aaron P.Marks                                                 Bar Number __________________
                                                                                                    558116                     Self-Represented ☐

                                                                 Check One Case Type in One Box

              General Civil Cases                                                             Domestic Relations Cases
              ☐           Automobile Tort                                                     ☐            Adoption
              ☐           Civil Appeal                                                        ☐            Dissolution/Divorce/Separate
              ☐           Contract                                                                         Maintenance
              ☐           Garnishment                                                         ☐            Family Violence Petition
              ☐
              ■
                          General Tort                                                        ☐            Paternity/Legitimation
              ☐           Habeas Corpus                                                       ☐            Support – IV-D
              ☐           Injunction/Mandamus/Other Writ                                      ☐            Support – Private (non-IV-D)
              ☐           Landlord/Tenant                                                     ☐            Other Domestic Relations
              ☐           Medical Malpractice Tort
              ☐           Product Liability Tort                                              Post-Judgment – Check One Case Type
              ☐           Real Property                                                       ☐   Contempt
              ☐           Restraining Petition                                                  ☐ Non-payment of child support,
              ☐           Other General Civil                                                      medical support, or alimony
                                                                                              ☐   Modification
                                                                                              ☐   Other/Administrative

      ☐       Check if the action is related to another action(s) pending or previously pending in this court involving some or all
              of the same parties, subject matter, or factual issues. If so, provide a case number for each.
              ____________________________________________            ____________________________________________
                           Case Number                                              Case Number

      ☐       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
              redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

      ☐       Is an interpreter needed in this case? If so, provide the language(s) required. ________________________________
                                                                                                                        Language(s) Required

      ☐       Do you or your client need any disability accommodations? If so, please describe the accommodation request.
              _________________________________________________________________________________________________________________________
              _________________________________________________________________________________________________________________________
                                                                                                                                                   Version 1.1.18



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                                                                                   150 E. PONCE DE LEON AVENUE
                                                                                                       SUITE 200
AARON MARKS, ESQ.                                MARKS V_X                               DECATUR, GEORGIA 30030
                                                 LAW GROUP, LLC


                                                                                       VIA Priority MaU
                                                August 19, 2021

      Katherine Parise
      Sedgwick Claims Management Services, Inc.
      PO Box 14436
      Lexington, KY 405124436

                     Our Injured Client:     Cody Cameron
                     At-Fault Party:         Dollar Tree Stores
                     Claim No.:              30217610601-0001
                     Date of Incident:       May 18, 2021

                                         DEMAND FOR DAMAGES

      Dear Madam Parise,

             Cody Cameron, through his attorney at The Marks Law Group, hereby gives written notice
      to Sedgwick Claims as the liability insurance carrier for Dollar Tree Stores. It is expressly
      understood that any and all representations made herein are for the limited purpose of settlement
      discussions and in no way may be used in any legal proceeding regarding this matter.

                                        FACTS OF THE INCIDENT

              On May 18, 2021, Cody Cameron was at your insured’s 130 John W. Morrow Jr. Parkway,
      Ste. L-l, Gainesville, Georgia location. Mr. Cameron was violently fell on his tailbone after
      slipping in spilled conditioner on the floor. Mr. Cameron suffered severe injuries to his back, neck,
      legs, and knees.

                But for the failure of Dollar Tree Stores to properly inspect and maintain their store, the
      injuries to Mr. Cameron, would not have occurred. In addition to being the “but-for” cause of Mr.
      Cameron’s injuries, Dollar Tree Stores is clearly also the proximate legal cause of these injuries
      as it is foreseeable that Dollar Tree Stores lack of care and inspection of their store caused serious
      injuries. Therefore, your insured is fully liable for the damages that Mr. Cameron sustained.

                                          MEDICAL CONDITION

              Immediately following the incident, Mr. Cameron began experiencing undeniable pain and
      distress and went to Northeast Georgia Medical Center. In the emergency room, Mr. Cameron
      was fully examined for injuries sustained in his fall. Mr. Cameron was diagnosed with bi-lateral
      back with radiating pain into the left side, lumbar strain, and stabbing pain in his neck.




11/5/2021 12:00:00 AM                         302176106010001                             6020211105011855
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                                                                                   150 E. PONCE DE LEON AVENUE
                                                                                                       SUITE 200
AARON MARKS, ESQ.                                MARKS VJ                                DECATUR, GEORGIA 30030
                                                 LAW GROUP, LLC


            Mr. Cameron tried conservative treatment methods without success. Mr. Cameron
      underwent nerve root block lumbar injections and was still in tremendous pain. Mr. Cameron’s
      MRI revealed disc herniation at L1-L2 and L2-L3, disc bulges at L3-L4 mid L4-5 and L5-S1.

              On July 21, 2021, Mr. Cameron had to undergo surgery to repair the damage caused by the
      fall.

              To date, Mr. Cameron’s medical specials as related to the incident on May 18, 2021, are
      as follows:

       Northeast Georgia Medical Center                                                   $6,832.00
       Longstreet Clinic                                                                 $46,376.33

       Total Charges                                                                     $53,208.33

               *The bills alone do not reflect the severity of immense pain and suffering inflicted upon
      Mr. Cameron caused by the incident on May 18, 2021. Through absolutely no fault of his own,
      Mr. Cameron was thrust into a world of pain and inconvenience. That pain is something that he
      will forever have to endure, as part of incurring these penmanent injuries. Moreover, his
      lifestyle was greatly impacted because of pain and discomfort. This must be considered if
      settlement is to be viable.

                  STATEMENT OF KNOWN LIENS AND SUBROGATION CLAIMS

              Any right of subrogation will be taken care of by Cody Cameron. Our client has agreed to
      leave sufficient funds to settle all medical liens should they arise at a later time. Mr. Cameron will
      indemnify the insurance company mid Dollar Tree Stores upon satisfaction of this action.

                                    STANDING TO RELEASE CLAIMS

              Our client, Cody Cameron is the injured party, over the age of 18. No other person is a
      party to this settlement.

                                           LEGAL EVALUATION
      CAUSATION

              Based on Dollar Tree Stores’ negligence, we know causation can be established to a jury.
      Dollar Tree Stores proximately caused the injuries and damages to Mr. Cameron which he had
      never experienced previously. See Glisson v. Freeman. 243 Ga. App. 92, 108 (2000) (“[W]hen an
      injury can be traced directly to a wrongful act, and but for such wrongful act it could not reasonably
      be supposed that the injury would have resulted, this essentially antecedent act may be said to be
      the proximate cause ofthe injury”). Parris v. Pledger Ins. Agency. 180 Ga. App. 437, 439(2) (1986).
      No records of any type indicate Cody Cameron was ever injured to this extent, previously.




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             Case 1:21-cv-05135-JPB Document 1-1 Filed 12/16/21 Page 12 of 12

                                                                                      150 E. PONCE DE LEON AVENUE
                                                                                                          SUITE 200
AARON MARKS, ESQ.                                 MARKS V_X                                 DECATUR, GEORGIA 30030
                                                  LAW GROUP, LLC



             On the day in question, Dollar Tree Stores owed certain civil duties to Cody Cameron and,
      notwithstanding those duties; Dollar Tree Stores did violate them in at least the following:


             a.      Failing to properly inspect the store and make it safe for the public;

             b.      In committing other negligent and reckless acts and omissions as may be shown by

                     the evidence and proven at trial.


                                        COMPENSABLE DAMAGES

             It is well-settled that in cases where liability is clear, the injured party is entitled to recover
     all general and special damages that “flow” from the negligent act; including, but not limited to:
     the cost of medical services, compensation for past, present, and future pain and suffering,
     compensation for lost earnings, the impairment of earning capacity, the permanency of the injuries
     and disabilities, loss of consortium, and compensation for the loss of enjoyment of life. Pain and
     suffering is a legal item of damages measured by the enlightened conscience of fair and impartial
     jurors. In other words, the value of a person’s pain and suffering is decided by a jury. Ray v.
      Stinson, et ah. 172 Ga.App. 718 (1984); Redd, et al. v. Peters. 100 Ga.App. 316 (1959). Thus,
     pursuant to Georgia law, your insured is liable for all the above-stated injuries and special damages
     of Cody Cameron as a direct result of your own negligence.

               The injuries, pain and suffering, and damages were the direct and proximate result of Dollar
      Tree Stores’ negligence. As Dollar Tree Stores is an insured on your policy, your insured is fully
      liable for all injuries sustained by Cody Cameron as a result of Dollar Tree Stores’ negligence.
      Though a jury may reach a much higher figure, I would be willing to recommend that Mr.
      Cameron completely settle this matter for an amount totaling $350,000.00 We ask that you
      respond to this demand within 30 days from the receipt of this demand to reduce the need for
      litigation on this matter.

                                                              Sincerely,

                                                                             h
                                                               !U      (k/

                                                              Aaron P. Marks
      Enclosures




11/5/2021 12:00:00 AM                          302176106010001                               6020211105011855
